                                                         Case 8:15-cv-02034-JVS-JCG Document 1118 Filed 04/27/21 Page 1 of 3 Page ID
                                                                                         #:76884


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                                                             and SCOTT J. FERRELL
                                                           8
                                                           9                     UNITED STATES DISTRICT COURT
                                                         10                    CENTRAL DISTRICT OF CALIFORNIA
                                                         11                              SOUTHERN DIVISION
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12 NATURAL IMMUNOGENICS                      CASE NO. 8:15-cv-02034-JVS-JCG
                       A PROFESSIONAL LAW CORPORATION
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                                                            CORP., a Florida corporation,
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                                                         13                                           NOTICE OF OBJECTION ON
                                                                              Plaintiff,              BEHALF OF DEFENDANTS
                                                         14                                           NEWPORT TRIAL GROUP AND
                                                                v.                                    SCOTT J. FERRELL REGARDING
                                                         15                                           APRIL 27, 2021 ORDER AT
                                                            NEWPORT TRIAL GROUP, et al.,              DOCKET NO. 1116
                                                         16
                                                                              Defendants.             Judge: Hon. James V. Selna
                                                         17
                                                         18                                           Complaint Filed: December 7, 2015
                                                                                                      Trial Date:      November 1, 2021
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                                                                              NOTICE OF OBJECTION TO ORDER AT DOCKET NO. 1116
                                                         Case 8:15-cv-02034-JVS-JCG Document 1118 Filed 04/27/21 Page 2 of 3 Page ID
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                                                           1        TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
                                                           2 RECORD:
                                                           3        PLEASE TAKE NOTICE that Defendants Newport Trial Group and Scott J.
                                                           4 Ferrell object to the Court’s issuance of the April 27, 2021 Order at Docket No.
                                                           5 1116 on the grounds that it violates due process and Local Rule 79-5.2.2(b)(i) by
                                                           6 denying Defendants and third parties the requisite time and opportunity to review
                                                           7 and request that certain documents, which Plaintiff had conditionally filed under
                                                           8 seal less than 12 hours earlier in support of Plaintiff’s Motion for Summary
                                                           9 Adjudication, should be sealed.
                                                         10         On April 26, 2021, just before midnight, Plaintiff filed a Motion for Summary
                                                         11 Adjudication. (Dkt. 1107.) On April 27, 2021, Plaintiff filed an Application re
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12 Under Seal Filing pursuant to Local Rule 79-5.2.2(b). (Dkt. 1114.) Specifically,
                       A PROFESSIONAL LAW CORPORATION
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                                                         13 Plaintiff filed Docket Nos. 1115 through 1115-27 conditionally under seal.
                                                         14         However, Plaintiff did not email Defendants with its 299-page under seal
                                                         15 filing until 11:57 a.m. on April 27, 2021. As Plaintiff noted in its Application re
                                                         16 Under Seal Filing, Plaintiff had not previously identified most of these documents to
                                                         17 Defendants. (See Dkt. 1114 at 2:11-12; see also Dkt. 1115 (Furman Decl.) at ¶ 8.)
                                                         18 Further, Local Rule 79-5.2.2(b)(i) provides four days for a party to review the
                                                         19 documents NIC conditionally filed under seal and to decide whether to file a
                                                         20 declaration establishing that compelling reasons exist to maintain the documents
                                                         21 under seal.
                                                         22         Despite the fact that Defendants have not been given an opportunity to review
                                                         23 the documents NIC filed under seal, and despite not being given the required time or
                                                         24 opportunity to submit a declaration pursuant to Local Rule 79-5.2.2(b)(i), the Court
                                                         25 issued an Order at 12:10pm on April 27, 2021 finding “no compelling reasons to
                                                         26 seal documents submitted in support of Plaintiff’s motion for partial summary
                                                         27 adjudication.”    (Dkt. 1116 at 2.)     By issuing this Order, it appears that any
                                                         28 statements that Defendants or third parties might make in support of a request to seal

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                                                                               NOTICE OF OBJECTION TO ORDER AT DOCKET NO. 1116
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                                                           1 records would be fruitless, and that it made no difference that Defendants and third
                                                           2 parties had not been afforded an opportunity to review the documents Plaintiff
                                                           3 conditionally filed under seal. (See Id.) On this basis, Defendants Newport Trial
                                                           4 Group and Scott J. Ferrell respectfully submit this objection.
                                                           5
                                                           6 Dated: April 27, 2021                 CALLAHAN & BLAINE, APLC
                                                           7
                                                                                                   By:        /s/ Stephanie A. Sperber
                                                           8                                               Edward Susolik
                                                                                                           David J. Darnell
                                                           9                                               Stephanie A. Sperber
                                                                                                           Attorneys for Defendants NEWPORT
                                                         10                                                TRIAL GROUP and SCOTT J.
                                                                                                           FERRELL
                                                         11
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12
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                                                                                NOTICE OF OBJECTION TO ORDER AT DOCKET NO. 1116
